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UNITED TATES DISTRICT COURT
 O U T H E R~ DI TRICT OF NEW YORK


 In rhe Jfaffer ofSearch Warrants Executed on
 April 9. 2018


                                                                     18-MJ-3 I 61 (KMW)
 MICHAEL D. COHEN,
                                                               S PECIAL MASTER REPORT
                                  Plaintiff,

                     - against-

 UNITED TATES OF AMERICA

                                  Defendant.



BARBARA . JO E . Special Master:

       By Order of Appointment. dated April 27. 20 18 [Dkt. No. 30] (the "Order"), the Court

appointed the Hon. Barbara S. Jones (Ret. ) as Special Master to render decisions regarding

"privilege issues related to materials seized in the execution of certain search warrants executed

on Apri l 9. 20 18 (the "Seized Materials'')." See Order at I. This report is submitted to provide

the Court with a scheduling plan setting forth the procedure and time line for conducting the

pri vilege review of the Seized Materials and resolving any disputes as to privilege. See

Order.§ 4.

       Pursuant to   ~   4 of the Order. the Special Master has confetTed with the parties regarding

the status of production of the Seized Materials and a procedure for review. The Government

will pro\'ide electronic copies of the matetials to the Plaintiff and pecial Master on an expedited

and rolling basis. The Special Master will conduct her review of the materials as they are

recei\'ed. Simultaneously, counsel for the Plaintiff and the fntervenors will conduct their O\Vn
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privilege revievl and will provide the results of that review to the Special Master on an expedited

and rolling basis.

        On April 24th and April 30th, the Government produced materials to the Plaintiff

consisting of the electronic contents of telephones and iPads. On May 3rd, the Government

produced additional materials to the Plaintiff consisting of electronic copies of eight boxes of

hard copy documents and the electronic content of additional telephones. On May 4th, the

Government produced electronic copies of the eight boxes of hard copy documents to the Special

Master. The Government expects to provide all remaining materials to Plaintiff and the Special

Master by May 11, 2018, with the possible exception of the content of ce1tain telephones. On

May 7th, the Plaintiff and Intervenors will provide their first set of privilege designations to the

Special Master.

        The Special Master will provide the Court with a timeline for concluding the privilege

review once she has received a larger volume of the materials to be reviewed. The Special

Master has also conferred with the parties regarding a process for resolving disputes as to

privilege and will finalize that procedure after fmther consultation with the parties.

        Pursuant to § 9 of the Order, the Government has provided the Special Master with a

copy of the search warrants executed in this matter, and the underlying application materials for

those waJTants.

        Pursuant to § 10 of the Order, the Special Master has conferred with the parties regarding

her compensation and expenses. The parties have agreed that the Plaintiff and Intervenors will

be responsible for payment of fifty percent of the Special Master's compensation and expenses

and that the Government will be responsible for payment of fifty percent of the Special Master's




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compensation and expenses. The Special Master wjlJ submit a proposal for the Court's approval

as to her compensation and expenses on or before May 9, 2018.


Dated: New York, New York
       May 4, 2018

                                                     Respectfully submitted,


                                                     v~
                                                     BARBARA S. JONES
                                                     §pecial Master




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